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February 9, 2016

VIA ECF AND FEDERAL EXPRESS

The Honorable Lynne A. Sitarski
United States Magistrate Judge
U.S. District Court for the Eastern District of Pennsylvania
601 Market Street, Room 3015
Philadelphia, PA 19106

Re:      United States ex rel. Krahling v. Merck & Co., Inc., No. 2:10-cv-4374 (CDJ)

Dear Judge Sitarski:

        We write on behalf of Defendant Merck, Sharp and Dohme Corporation in
response to the Order entered on February 5, 2016 (Dkt. 98) to show cause why the
Court’s Memorandum denying Relator’s Motion for Protective Order should remain under
seal. It is Merck’s position that Your Honor’s Memorandum need not remain under seal.
Merck filed its Response to Relator’s Letter Motion under seal in deference to Relator’s
initial Motion having been filed under seal. Merck, however, does not believe there is any
Protected Material, as defined by the Protective Order governing this matter (Dkt. 69, ¶ 10,
at p. 15), in the Court’s Memorandum, and therefore Merck does not oppose the Court’s
unsealing of the Memorandum.

Respectfully submitted,

/s/ Lisa C. Dykstra

Lisa C. Dykstra

cc: All Counsel of Record in C.A. No. 10-4374 (via ECF and e-mail)




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